      Case 14-50333-gs          Doc 118    Entered 07/15/14 14:26:44        Page 1 of 3



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     Attorneys for John Beach, Trustee of the
 7   Beach Living Trust dated January 22, 1999
 8                              UNITED STATES BANKRUPTCY COURT
 9                                        DISTRICT OF NEVADA
10    In re:                                                   Case No.: BK-N-14-50333-btb
                                                               Chapter: 11
11    ANTHONY THOMAS and WENDI THOMAS
                                                               [Lead Case – Jointly Administered]
12
            Affects AT EMERALD, LLC                           Case No.: BK-N-14-50331-btb
13          Affects all Debtors                               Chapter: 11

14                                                             LIMITED OPPOSITION TO US
                                                               TRUSTEE’S MOTION TO
15                                                             CONVERT CASE TO CHAPTER 7

16                                                             Hearing Date: July 30, 2014

17                                                             Hearing Time: 2:00 p.m.

18               Secured creditor John Beach (“Beach”), as trustee of the Beach Living Trust dated
19   January 22, 1999 (the “Beach Trust”), by and through its attorneys of record, Holland & Hart
20   LLP, hereby respectfully submits its limited opposition (the “Opposition”) to the United States
21   Trustee’s (the “US Trustee”) Motion to Convert Case to Chapter 7 (the “Motion”).
22               This Opposition is based on the attached memorandum of points and authorities, the
23   papers and pleadings on file herein, and any oral argument that this Court may permit at a
24   hearing on this matter.
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                                                 Page 1 of 3


     6986512_1
      Case 14-50333-gs           Doc 118    Entered 07/15/14 14:26:44        Page 2 of 3



 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.          INTRODUCTION

 3               Debtor AT Emerald, LLC’s (“Debtor”) only asset is that certain 23 kilogram black schist

 4   stone including a green crystal beryl (natural emerald) of approximately 22,500 carats, which

 5   stone is commonly known as the “Thomas Emerald.” Evidently, Debtor has arranged for an

 6   alleged sale of the Thomas Emerald, the proceeds from which exceed the total amount of all

 7   known creditor claims. Therefore, dismissal of this case prior to the completion of the alleged

 8   sale of the Thomas Emerald is not in the best interests of the creditors.

 9   II.         STATEMENT OF FACTS

10           1.        On March 4, 2014, Debtor filed its voluntary chapter 11 petition herein (the

11   “Petition Date”).

12           2.        In its schedules and statements on file herein, Debtor alleges that the Thomas

13   Emerald is valued in excess of $200,000,000.00. See Dkt. 1-1 at p. 12.

14           3.        According to the claims registers of the jointly administered Debtors, there exists

15   approximately $5,200,000.00 in claims against the Debtors.

16           4.        On June 23, 2014, the Debtors filed their Motion to Sell Assets Free and Clear of

17   Liens and Motion to File Purchase and Sale Agreement Under Seal (the “Motion to Sell”)

18   wherein Debtors alleged that a sale for the Thomas Emerald had been negotiated for a sale price

19   sufficient to pay all secured and unsecured claims. See Dkt. 83 at 2:22-23.

20           5.        Debtor has not made any post-petition payment to the Beach Trust.

21   II.     LEGAL ARGUMENT

22           The US Trustee’s Motion seeks to convert the case pursuant to 11 U.S.C. § 1112(b),

23   based on cause related to the Debtor’s failure to maintain appropriate insurance that poses a risk

24   to the estate or to the public.” See Mot. at 2:18-19.

25           Once a bankruptcy court determines that there is cause to convert or dismiss, it must also:

26   (1) decide whether dismissal, conversion, or the appointment of a trustee or examiner is in the

27   best interests of creditors and the estate; and, (2) identify whether there are unusual

28   circumstances that establish that dismissal or conversion is not in the best interests of creditors
                                                   Page 2 of 3


     6986512_1
      Case 14-50333-gs        Doc 118      Entered 07/15/14 14:26:44         Page 3 of 3



 1   and the estate. In re Prod. Int’l Co., 395 B.R. 101, 107 (Bankr. D. Ariz. 2008).

 2           Unusual circumstances exist in this case, as the subject asset is unique, and the

 3   underlying sales transaction is sensitive and for a sum that far exceeds to the total amount of

 4   known claims. Further, the US Trustee’s alleged cause consists of a lack of insurance. There is

 5   no evidence to suggest that such insurance is readily available, or whether the Debtors can

 6   sustain the cost of the premium. Instead, keeping the cases open in chapter 11 to allow for the

 7   orderly liquidation of the Thomas Emerald and the subsequent distribution of the sale proceeds

 8   under court supervision is in the best interests of the creditors, who stand to be paid in full.

 9           Therefore, this Court should not convert the case filed by Debtor AT Emerald, as unusual

10   circumstances establish that conversion is not in the best interests of the creditors.

11   IV.     CONCLUSION

12           Based on the foregoing, the Beach Trust respectfully requests that this Court deny the US

13   Trustee’s Motion.

14           Dated this 15th day of July, 2014.

15                                          HOLLAND & HART LLP

16                                                 /s/ Joseph G. Went
17                                          By:_______________________
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                                                  Page 3 of 3


     6986512_1
